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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 SEAN M. GERLICH, et al.,

         Plaintiffs,
                 v.                                         Civil Action No. 08-1134 (JDB)
 UNITED STATES DEPARTMENT
 OF JUSTICE, et al.,

         Defendants.


                                              ORDER

       On March 9, 2009, the Court ordered that all briefing on [71] plaintiffs' motion for class

certification and all further briefing on [74] [76] defendants' motions to strike class allegations be

stayed "pending resolution of defendants' motion to dismiss the second amended complaint or

until further order of the Court." Because the Court resolved defendants' motions to dismiss the

second amended complaint on September 16, 2009, [71][74][76] plaintiffs' motion for class

certification and defendants' motions to strike class allegations are once again before the Court.

       The Court denies [74][76] defendants' motions to strike class allegations. In its

September 16, 2009 Order the Court dismissed the claims against the individual defendants, and

therefore dismissed these defendants from this case. Defendants' motions therefore are moot.

See North Carolina v. Rice, 404 U.S. 244, 246 (1971) ("[F]ederal courts are without power to

decide questions that cannot affect the rights of litigants in the case before them."). Accordingly,

these motions are denied.

       The Court also denies without prejudice [71] plaintiffs' motion for class certification.

The Court's September 16, 2009 Order dismissed all but two of plaintiffs' claims against the
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Department of Justice, and dismissed five of the eight plaintiffs from this case. Because the

factual basis underlying plaintiffs' motion has changed, the motion is denied without prejudice.

If plaintiffs again wish to move for class certification, they may do so pursuant to the schedule

detailed in this Order.

       Therefore, it is hereby ORDERED that [74][76] defendant McDonald's and defendant

DeFalaise's motions to strike class allegations are DENIED AS MOOT; it is further

       ORDERED that [71] plaintiffs' motion for class certification is DENIED WITHOUT

PREJUDICE; it is further

       ORDERED that if plaintiffs' wish to move for class certification, they must do so by not

later than October 23, 2009. Defendant's opposition shall be filed by not later than November 23,

2009. And plaintiffs' reply, if any, shall be filed by not later than December 8, 2009.

       SO ORDERED.




                                                     /s/ John D. Bates
                                                     JOHN D. BATES
                                                 United States District Judge


Dated: September 23, 2009
